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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY



 TUMI, INC., SAMSONITE LLC, and
 DELILAH EUROPE INVESTMENTS                       Civil Action No.:
 SARL,

                       Plaintiffs,                Removed from:

        v.                                        Superior Court of New Jersey
                                                  Law Division - Union County
 FACTORY MUTUAL INSURANCE
 COMPANY,                                         Docket No. UNN-L-000193-21

                       Defendant.



                                     NOTICE OF REMOVAL
 TO: Clerk of the Court
     United States District Court
     District of New Jersey
     Clarkson S. Fisher Building & U.S. Courthouse
     402 East State Street, Room 2020
     Trenton, New Jersey 08608

       Sherilyn Pastor, Esq.
       McCARTER & ENGLISH, LLP
       Four Gateway Center
       100 Mulberry Street
       Newark, NJ 07102
       (973) 622-4444
       Attorneys for Plaintiffs


       PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. §§ 1332, 1441 and 1446,

Defendant, Factory Mutual Insurance Company (hereinafter “FMIC” or “Defendant”), by its

undersigned attorneys, Finazzo Cossolini O’Leary Meola & Hager, LLC, hereby removes the

above-captioned civil action, and all claims and causes of action therein, from the Superior Court
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of New Jersey, Law Division, Union County, 2 Broad Street, Elizabeth, New Jersey, to the United

States District Court for the District of New Jersey. The grounds for removal are as follows:

       1.      Plaintiffs Tumi Inc., (hereinafter “Tumi”), Samsonite LLC (hereinafter

“Samsonite”), and Delilah Europe Investments Sarl (hereinafter “Delilah”) (collectively referred

to as the “Plaintiffs”) commenced an action seeking damages against Factory Mutual Insurance

(herein “FMIC”) in the Superior Court of New Jersey, Law Division, Union County, by filing a

Complaint and Jury Demand (“Complaint”) on January 19, 2021.

       2.      On January 19, 2021, FMIC received a copy of the Complaint. A true and complete

copy of the Complaint is attached hereto as Exhibit “A”.

       3.      On February 9, 2021, FMIC received a copy of a First Amended Complaint

(“FAC”). A true and complete copy of the FAC is attached hereto as Exhibit “B”. True and

complete copies of all other pleadings filed in the Superior Court of New Jersey, Law Division,

Union County, are attached hereto as Exhibit “C”.

       4.      This action is a civil action of which this Court has original jurisdiction under 28

U.S.C. § 1332(a)(1) and (a)(3), and is one which may be removed to this Court by FMIC pursuant

to the provisions of 28 U.S.C. § 1441. It is a civil action between citizens of different states; and

between citizens of different States and in which citizens or subjects of a foreign state are

additional parties; and the matter in controversy exceeds the sum of $75,000, exclusive of interest

and costs.

       5.      According to the allegations in the FAC, Tumi is an Insured under FMIC’s “All

Risk” Master Global Policy. Tumi alleges that it is incorporated under the laws of the state of New

Jersey with its principal place of business in New Jersey. FAC ¶ 4. Tumi is therefore a citizen of

New Jersey.



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       6.      According to the allegations in the FAC, Samsonite is an Insured under FMIC’s

“All Risk” Master Global Policy. Samsonite alleges that it is a limited liability company organized

in the state of Delaware with its principal place of business at 575 West Street, Suite 110,

Mansfield, Massachusetts. The sole member of Samsonite LLC is alleged to be a holding company

organized in the state of Delaware with its principal place of business at 575 West Street, Suite

110, Mansfield, Massachusetts. FAC ¶ 5. Samsonite is therefore a citizen of Delaware and of

Massachusetts.

       7.      According to the allegations in the FAC, Delilah is an Insured under FMIC’s “All

Risk” Master Global Policy. Delilah alleges that it is a Société à Responsabilité Limitée organized

in Luxembourg with a principal place of business at 13-15 Avenue de la Liberte, Luxembourg, L-

1931, Luxembourg. FAC ¶ 6.         Delilah is therefore a citizen or subject of a foreign state,

Luxembourg.

       8.      FMIC, Factory Mutual Insurance Company, is a mutual insurance company

organized under the laws of the State of Rhode Island with its principal place of business in

Johnston, Rhode Island. FMIC is therefore a citizen of Rhode Island.

       9.      Accordingly, there is complete diversity of citizenship between the parties, thereby

satisfying the diversity of citizenship requirement of 28 U.S.C. § 1332.

       10.     This matter involves Plaintiffs’ claims for declaratory judgment. The FAC alleges

that COVID-19 and relevant government orders have impacted Plaintiffs’ operations and earnings

and that the instant dispute arises from FMIC’s alleged refusal to acknowledge coverage for

Plaintiffs’ related claim. FAC ¶¶ 2, 57.

       11.     The FAC does not include a statement of Plaintiffs’ claimed damages. However, in

the context of a declaratory judgment, “it is well established that the amount in controversy is



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measured by the value of the object of the litigation.” Hunt v. Washington State Apple Advertising

Comm’n, 432 U.S. 333, 347 (1977) (citations omitted); Columbia Gas Transmission Corp. v.

Tarbuck, 62 F.3d 538, 541 (3d Circ. 1995). Notably, the FAC contains allegations of claims

concerning numerous retail locations that “sell their products in New Jersey and throughout the

world”; and where, prior to the pandemic, “thousands of people visited . . . every day.” FAC ¶¶

14-15. Plaintiffs’ FAC also alleges that “[t]he Policy’s $1 million Communicable Disease

Response and Interruption by Communicable Disease does not cap Samsonite’s recovery, nor limit

any other coverage(s) available under the Policy.” FAC ¶ 105. It is reasonable to infer from this

allegation the Plaintiffs are claiming damages in excess of $1,000,000.

       12.     Further, on February 16, 2021, a teleconference occurred between counsel for

FMIC and counsel for Plaintiffs. During that conversation, Plaintiffs’ counsel confirmed that

Plaintiffs’ damage claim in this action exceeds the sum of $75,000.

       13.     Additionally, this Notice of Removal is timely pursuant to 28 U.S.C. § 1446

because it is filed within 30 days after receipt by FMIC, through service or otherwise, of a copy of

the initial pleading setting forth the claim for relief upon which the action or proceeding is based.

       14.     FMIC will promptly serve a copy of this Notice of Removal on counsel for

Plaintiffs, and will file a copy of this Notice of Removal with the Clerk of the Superior Court of

New Jersey, Union County, pursuant to 28 U.S.C. § 1446(d).

       WHEREFORE, Defendant FMIC, under 28 U.S.C. §§ 1332, 1441 and 1446, remove this

action in its entirety from the Superior Court of New Jersey, Union County, to the United States

District Court for the District of New Jersey.




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Dated: February 17, 2021                 Respectfully submitted,

                                         FINAZZO COSSOLINI O’LEARY
                                         MEOLA & HAGER, LLC

                                         By: /s/ Robert F. Cossolini____________
                                                ROBERT F. COSSOLINI, ESQ.
                                                67 East Park Place, Suite 901
                                                Morristown, New Jersey 07960
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                                                Motion for Admission Pro Hac Vice
                                                pending:
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                                               Attorneys for Defendant Factory
                                               Mutual Insurance Company




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                     CERTIFICATION PURSUANT TO L. CIV. R. 11.2

       I certify that the subject matter now before this Court is not part of any other action pending

in any Court or of any pending arbitration or administrative proceeding, except the Union County

Superior Court, Law Division action upon which this removal application is based (UNN-L-

000193-21).

 Dated: February 17, 2021                            Respectfully submitted,

                                                     FINAZZO COSSOLINI O’LEARY
                                                     MEOLA & HAGER, LLC

                                                     By: /s/ Robert F. Cossolini____________
                                                            ROBERT F. COSSOLINI, ESQ.
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                                                           Attorneys for Defendant Factory
                                                           Mutual Insurance Company




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of February, 2021, I caused to be electronically filed

the enclosed Notice of Removal and attached exhibits through the Court’s CM/ECF filing system,

and forwarded one copy of the Defendant’s Notice of Removal, and attached exhibits, and

Certificate of Service, via Email to the following counsel of record for Plaintiffs:

       Sherilyn Pastor, Esq.
       McCARTER & ENGLISH, LLP
       Four Gateway Center
       100 Mulberry Street
       Newark, NJ 07102
       (973) 622-4444
       Attorneys for Plaintiffs

                                                              /s/ Robert F. Cossolini________
                                                              ROBERT F. COSSOLINI, ESQ.




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